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                                   United States District Court
                                      District Of Maryland
     Chambers of                                                                     101 West Lombard Street
Ellen Lipton Hollander                                                               Baltimore, Maryland 21201
  District Court Judge                                                                     410-962-0742



                                               March 21, 2025

      LETTER TO COUNSEL

             Re:      American Federation of State, County and Municipal Employees,
                      AFL-CIO, et al. v. Social Security Administration, et al.
                      Civil Action No. ELH-25-0596

      Dear Counsel:

             I write with respect to the Temporary Restraining Order issued yesterday afternoon in the
      above captioned matter. ECF 48 (“Order” or “TRO”).

              Among other things, except under conditions as described in the Order, the TRO enjoins
      and restrains the United States Social Security Administration (“SSA”), Leland Dudek, and
      Michael Russo from granting access to non-anonymized personally identifiable information in
      any SSA system of record to the Department of Government Efficiency (“DOGE”); the United
      States DOGE Service; the United States DOGE Service Temporary Organization; members of the
      DOGE Team at the SSA; Elon Musk; Amy Gleason; and “DOGE Affiliates,” as defined in the
      Order. Conversely, paragraph 2 of the Order expressly allows the SSA to provide access to
      redacted or anonymized data and records to the DOGE Team, subject to proper training and the
      like. Notably, paragraph 3 of the TRO permits the SSA to provide non-anonymized data to the
      DOGE Team, subject to certain conditions.

              The Court is aware of several news reports claiming that Acting Social Security
      Commissioner Dudek believes that virtually all employees of SSA fall within the scope of the
      Order, including his “IT Staff” and his “anti-fraud team.” And, according to the news reports, Mr.
      Dudek apparently believes he is required to terminate their access to SSA’s IT systems, in order
      to comply with the Order.

             Such assertions about the scope of the Order are inaccurate. Employees of SSA who are
      not involved with the DOGE Team or in the work of the DOGE Team are not subject to the Order.
      A DOGE Affiliate is defined in the Order, inter alia, as a person working on or implementing the
      DOGE agenda. See ¶ 10(b). Moreover, any suggestion that the Order may require the delay or
      suspension of benefit payments is incorrect.

              However, if the government has any concern about the text of the Order, or otherwise seeks
      clarification of it, I instruct government counsel to contact Chambers immediately to arrange a
      telephone conference with counsel.
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       Despite the informal nature of this letter, it is an Order of the Court and the Clerk is directed
to docket it as such.


                                                        Very truly yours,


                                                                  /s/
                                                        Ellen Lipton Hollander
                                                        United States District Judge




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